                              Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 1 of 7
AO 245B (Rev. 09/19)     Judgment in a Crimin al Case                  (form modified within Di strict on Sept 30, 201 9)
                         Sheet l



                                                  UNITED STATES DISTRlCT COURT
                                                                              Southern District of New York
                                                                                                 )
               UNITED STATES OF AMERICA                                                          )       JUDGMENT IN A CRIMINAL CASE
                                           V.                                                    )
                         JUNIOR BELLIARD                                                         )
                                                                                                 )       Case Number: 01 :19-Cr-00230 (SHS)
                                                                                                 )       USM Number: 86134-054
                                                                                                 )
                                                                                                 )         Calvin H. Scholar
                                                                                                 )        Defendant's Attorney
THE DEFENDANT:
ill pleaded guilty to count(s)                  One in the Information
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses :

Title & Section                            Nature of Offense                                                                       Offense Ended
18 U.S.C. § 1951                           Conspiracy to Commit Hobbs Act Robbery                                                  9/30/2018




       The defendant is sentenced as provided in pages 2 through                                _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
fl! Count(s)          open counts                                             Dis       ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines , restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution ,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                                Date of Impos ition of




                  JUSDCSDNY
               fi ~o~_tn. rEJ\T
               t11ELEC"TRO f\·:r'"IJ;y
               i .,            ....,..\ - .,                           PIL
                                                                        ·
                                                                             ED
               ~l     )OC    if-                                       ..                                            Sidney H. Stein, U.S . District Judge

               ll!ATE.FrLEn:g}dj),po                                                            Name and Title of Judge


             ~ ~f-4.-·
                     ., •   114
                                  -HS ••                ,..__
                                                  t'rltz8!$1 . •:.:.    ,   ----:!J
                                                                                  ~ -

                                                                                                Date
                            Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 2 of 7
AO 245B (Rev . 09/ 19) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page   - -=2=---- of   7
 DEFENDANT: JUNIOR BELLIARD
 CASE NUMBER: 01:19-Cr-00230 (SHS)

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                        time served.




       D The court makes the following recommendations to the Bureau of Prisons:




       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
            D at                                   D a.m.     D p.m.       on

            D as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

  at _ _ _ _ _ _ __ __ _ _ __ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED ST A TES MARSHAL



                                                                          By - - - - - - - - - - - - - - -- - - -- - - - -
                                                                                              DEPUTY UN ITED STATES MARSH AL
                            Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 3 of 7
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                                         3_
                                                                                                        Judgment- Page _ _      of ---'----
DEFENDANT: JUNIOR BELLIARD
CASE NUMBER: 01 :19-Cr-00230 (SHS)
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

                                                                                     three years.




                                                       MANDATORY CONDITIONS
1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
 4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution . (check if applicab le)
 5.     [li You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C . § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.     D You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
                          Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 4 of 7
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                              Judgment-Page - - -- ~ of - - - ' - - - - - -
DEFENDANT: JUN IOR BELLIARD
CASE NUMBER: 01 :1 9-Cr-00230 (SHS )

                                        ST ANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the min imum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2.  After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4 . You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.  You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony , you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S . probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts .gov .


Defendant's Signature                                                                                    Date - - -- - - - - - - - -
AO 245B (Rev. 09/ 19)
                           Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 5 of 7
                        Judgment in a Criminal Case
                        Sheet 30 - Supervised Release
                                                                                         Judgment- Page   _ 5~ _   of      7
DEFENDANT: JUNIOR BELLIARD
CASE NUMBER: 01 :19-Cr-00230 (SHS)

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant will participate in an outpatient substance abuse treatment program approved by the United States
 Probation Office, which program may include testing to determine whether you have reverted to using drugs or alcohol.
 You must contribute to the cost of services rendered based on your ability to pay and the availability of third-party
 payments. The Court authorizes the release of available drug treatment evaluations and reports, including the presentence
 investigation report , to the substance abuse treatment provider.

 2. The defendant shall submit his person , and any property, residence, vehicle, papers, computer, other electronic
 communication , data storage devices , cloud storage or media, and effects to a search by any United States Probation
 Officer, and if needed , with the assistance of any law enforcement. The search is to be conducted when there is
 reasonable suspicion concerning violation of a condition of supervision or unlawful conduct by the person being
 supervised . Failure to submit to a search may be grounds for revocation of release. The defendant shall warn any other
 occupants that the premises may be subject to searches pursuant to this condition. Any search shall be conducted at a
 reasonable time and in a reasonable manner.

 3. The defendant shall participate in vocational and educational courses, to better prepare him for future employment
 opportunities .
                             Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 6 of 7
AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment -   Page       6      of     7
 DEFENDANT: JUNIOR BELLIARD
 CASE NUMBER: 01:19-Cr-00230 (SHS)
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                Restitution                Fine                     AVAA Assessment*                JVT A Assessment**
 TOTALS             $    100.00                $    0.00                 $    0.00                 $   0.00                        $   0.00


 D    The determination of restitution is deferred until         -----
                                                                                  . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority or¢er or perc~ntage payment column below. However, pursuant to 18 U.S.C . § 36640), all nonfederal victims must be paid
      before the United States 1s paid.

 Name of Payee                                                     Total Loss***                   Restitution Ordered             Priority or Percentage




 TOTALS                                 $                          0.00              $ _ _ _ _ _ _ _0_.0_0_



  D     Restitution amount ordered pursuant to plea agreement $

  D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U .S .C. § 36 l 2(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

  D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        D     the interest requirement is waived for the           D fine        D restitution .
        D     the interest requirement for the          D   fine     D       restitution is modified as follows :

  * Amy, Vicky, and Andy Child Pomo~raphy Victim Assistance Act of 2018 , Pub. L. No . 115-299.
  ** Justice for Victims of Trafficking Act of2015 , Pub. L. No. 114-22.
  *** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
  or after September 13 , 1994, but before April 23 , 1996.
AO 245B (Rev. 09/ 19)
                            Case 1:19-cr-00230-SHS Document 56 Filed 09/25/20 Page 7 of 7
                        Judgment in a Crimin al Case
                        Sheet 6 - Schedul e of Payments

                                                                                                                 Judgment -   Page   7     of
 DEFENDANT: JUNIOR BELLIARD
 CASE NUMBER: 01 :19-Cr-00230 (SHS)

                                                              SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

 A     ~     Lump sum payment of$            100.00                    due immediately, balance due


             •     not later than                                          , or
             •     in accordance with
                                           •    C,
                                                          •    D,
                                                                       •    E, or       D F below; or
 B     •     Payment to begin immediately (may be combined with                     •   c,     OD, or      D F below); or

 C     D Payment in equal             _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g. , months or years) , to commence _ _ _ _ _ (e .g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal            _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,         30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time ; or

 F     D Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penall:ies, except those payments made through the Federal Bureau of Prisons ' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                          Joint and Several              Corresponding Payee,
       {including defendant number)                                 Total Amount                      Amount                        if appropriate




 D     The defendant shall pay the cost of prosecution.

  D    The defendant shall pay the following court cost(s):

  D     The defendant shall forfeit the defendant' s interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVT A assessment, (9) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
